     Case 2:07-cr-00087-WFN       ECF No. 335    filed 10/29/19   PageID.4568 Page 1 of 3




 1   William D. Hyslop                                                         FILED IN THE
     United States'Attorney                                                U.S. DISTRICT COURT
                                                                     EASTERN DISTRICT OF WASHINGTON
 2   Brian M. Donovan
     Assistant United States Attorney
 J   Post Office Box 1494                                             Oct 29, 2019
     Sookane. Washinst on 99210-1 49 4                                    SEAN F. MCAVOY, CLERK
 4   felephone : (5 09)"3 53 -27 67
     Counsel for the United States
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 6
                               LINITED STATES DISTRICT COURT
 7
                              EASTERN DISTRICT OF WASHINGTON
 8
     UNITED STATES OF AMERICA,
 9
                     Plaintiff,                    No. 2 :07-CR-00087-00 1 -WFN
l0
            vs.
                                                   AGREED ORDER OF
11
     FREDERICK SIMON,                              GARMSHMENT
T2            Defendant,
l3          and

t4 WASHINGTON EASTERN RAILROAD
     LLC,
15
                     Garnishee.
t6

t7          This matter having come before the Court upon presentation of the Motion to
18   Approve an Agreed Order of Garnishment filed by Plaintiff, United States of America,
t9   and entered into between the United States of America,by and through its attorney,
20   Brian M. Donovan, Assistant United States Attorney; Defendant, Frederick Simon,
2l appearing pro se; as evidenced by their signatures set forth below, and the Court being
22   fully advised and for good cause shown, finds the following:
23          1. Defendant's name is Frederick Simon and social security number is*'F{<-**-
24                8555.
25          2. Defendant is indebted to the United   States and owes a remaining balance              of
26                $410,797.69 as of October 24,2019, by reason of Defendant's default in
27                payments toward a Judgment filed on March 6,2009. ECF No. 247.
28   AGREED ORDER OF GARNISHMENT - I
     Case 2:07-cr-00087-WFN         ECF No. 335   filed 10/29/19   PageID.4569 Page 2 of 3



           a
           J. The Garnishee,        WASHINGTON EASTERN RAILROAD LLC, whose
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                address is P.O.   Box 1544, Ogden, UT 84402, has in its possession, custody
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                or control, property of the Defendant in the form of wages and/or
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                commissions paid to the Defendant.
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           4. Defendant waives service of an application for a      writ of continuing
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                garnishment pursuant to Section 3205 of the Federal Debt Collection
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                Procedures Act of 1990 (FDCPA),28 U.S.C. Section 3205, and further
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                waives the right to a hearing under Section 3205 and any other process to
 8
                which the Judgment Defendant may be entitled under the FDCPA.
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           5. Defendant agrees and stipulates that wages and/or commissions are subject
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                to garnishment under 28 U.S.C. Section 3205 and expressly agrees and
11

                stipulates that the entry of an agreed order of garnishment is proper.
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l3
           6. The parties therefore agree and stipulate to the entry    of an agreed order of

t4
                garnishment against the non-exempt wages and/or commissions        of
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                Defendant. It is expressly agreed, stipulated and ordered that Defendant
                shall pay, via garnishment to the United States, $150.00 per month, which
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l7              shall be withheld from the wages and/or commissions owed the Defendant.

l8              However, said gamishment does not limit the United States' enforcement

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                rights for this or any other matters under the laws of the United States or any

20
                State.

2t         7.   These sums   will   be applied to the Judgment rendered against Frederick

22              Simon in this cause. These payments are to continue until the unpaid

23              balance is fully paid and satisfied. Checks should be made payable to the

24              CLBRK OF COURT and mailed to the United States District Court, Post
25              Office Box 1493, Spokane,      WA    99210-1493.

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28   AGREED ORDER OF GARNISHMENT - 2
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           8. Nothing in this   agreement prevents Plaintiff from pursuing administrative
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              offsets of any funds owed to Defendant by any government agency,
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              including the Internal Revenue Service, and Defendant specifically consents
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              to any such offset. Any payments applied to this claim by the Internal
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              Revenue Service as a result of tax return offsets   will   be credited as a

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              payment to the existing balance but   will not intemrpt the periodic payments
              withheld from wages and/or commissions described above unless it results
 7
              in payment in fulI.
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 9
           9. Defendant can at any time, request an accounting of the funds       garnished.
              However, Defendant hereby knowingly waives any rights under 28 U.S.C.
10
              3205(c)(9) to any automatic accounting.
1t

t2
           WHEREFORE, based on the finding set forth above, the terms of this Agreed

l3   Order of Garnishment are hereby approved, and

t4
           IT IS SO ORDERED. The District Court Executive is directed to file this

l5   Order and provide copies to Plaintiff Defendant and Garnishee.

t6         DATED this _29th day of       October                  20t9.

l7
l8
t9                                                 United States District Judge

20         CONSENTED TO BY:


          S*;,s*,'6>
2t

22
           Assistant United States Attorney
                                                          DATED: to       l=iltq
23

24

25
                                                          DArED: 24
26         Defendant
                                                                            o   WV
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28   AGREED ORDER OF GARNISHMENT -   3
